FILED

 

DEC 2 0 2nnj
UNITED STATES DISTRICT COURT us
CLERK, U.S. DISTRICT COURT
EASTERN DISTRICT CALIFORNIA
EASTERN DISTRICT OF CALIFORNIA By_. OF
: MEPUTY CLERK

JUDGMENT IN A CIVIL CASE
THE McCARTY COMPANY, INC.
V. CASE NUMBER: CIV S-01-158 LKK JFM

UNITED STATES OF AMERICA

XX -- Decision by the Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED

THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
COURT'S ORDER OF DECEMBER 20, 2001.

Jack L. Wagner,
Clerk of the Court

by: 7? 7. Ai Meped—
M. Krueger, Beputy ferk

ENTERED: December 20, 2001

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United States District Court
for the
Eastern District of California
December 20, 2001

* * CERTIFICATE OF SERVICE * *

2:01-cv-00158

McCarty Company
Vv.

USA

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on December 20, 2001, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office, or, pursuant to prior
authorization by counsel, via facsimile.

Jason William Harrel SJ/LKK
Richard S Calone Incorporated
1810 Grand Canal Boulevard CF/JFM

Suite Six
Stockton, CA 95207

Norma J Schrock

US Department of Justice
Tax Division

PO Box 683

Ben Franklin Station
Washington, DC 20044

Jack L. Wagner, Clerk

BY: -
Depu Cle
